Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 1 of 82




                                               1


         1          IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF OKLAHOMA
         2

         3
             UNITED STATES OF AMERICA,                       )
         4                                                    )
                      Plaintiff,                              )
         5                                                   )
             -vs-                                            ) No. 08-CV-00278-TCK-PJC
         6                                                   )
             LINDSEY K. SPRINGER, et al.                      )
         7                                                   )
                     Defendants.                             )
         8

         9

        10              THE DEPOSITION OF DONNA MEADORS,

        11    taken on behalf of the Defendants, pursuant to court

        12    order and the following stipulations on April 9, 2009, at

        13    1645 South 101st East Avenue, Tulsa, Oklahoma, before me,

        14    Greg Eustice, Certified Shorthand Reporter in and for the

        15    State of Oklahoma.

        16

        17             APPEARANCES

        18    For the Plaintiff:    Mr. James C. Strong
                              Department of Justice
        19                     Tax Division
                              P.O. Box 7238
        20                     Ben Franklin Station
                              Washington, D.C. 20044
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 2 of 82




        21
           For the Defendants
        22  pro se:           Mr. Lindsey K. Springer
                          5147 South Harvard, Suite 116
        23                 Tulsa, Oklahoma 74135

        24

        25




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Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 3 of 82




                                                  2


         1                 CONTENTS
                                PAGE
         2
             Defendant's Exhibit No. 13 . . . . . . . 8,9,10,12,13
         3                            17,20,26,39

         4   Defendant's Exhibit No. 41 . . . . . . . 39
             Defendant's Exhibit No. 42 . . . . . . . 39
         5

         6              STIPULATIONS

         7          It is stipulated and agreed by and between the

         8   parties hereto that the deposition is taken pursuant to

         9   court order, and that the same is to be taken at this

        10    time and place.

        11           It is further stipulated and agreed that the

        12    deposition is taken pursuant to the Federal Rules of

        13    Civil Procedure.

        14

        15

        16           MR. SPRINGER: We're here today in United

        17    States of America versus Lindsey K. Springer, et al.

        18    Case Number 08-278. And Mrs. Meadors -- Mr. Strong is

        19    here to the government, Lindsey Springer here speaking.

        20                 DONNA MEADORS,
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 4 of 82




        21   being first duly sworn to testify the truth, the whole

        22   truth and nothing but the truth, testified as follows:

        23              DIRECT EXAMINATION

        24   BY MR. SPRINGER:

        25   Q   Mrs. Meadors, would you please enter your official




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Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 5 of 82




                                                3


         1       name for the record.

         2   A Donna Meadors.

         3   Q    Mrs. Meadors, has anybody prepared you for the

         4       deposition that you're giving here today?

         5   A I briefly met with Mr. Strong this morning.

         6   Q    Other than that, has anybody talked to you about

         7       O8-278, the case I just identified?

         8   A    No.

         9   Q    Okay. Bear with me on this. Have you heard the

        10       name Lindsey Springer before you spoke with Mr.

        11       Strong today?

        12   A    Yes.

        13   Q    And could you give just a brief history of your

        14       employment with the IRS?

        15   A    I started to work for the IRS in February of 1991 as

        16       a revenue agent and I became a special agent with

        17       the IRS in July of 2005. And I'm currently employed

        18       as a special agent.

        19   Q It was true that one the requirements of being a

        20       special agent you had to become a CPA; is that true?
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 6 of 82




        21   A    No.

        22   Q    Did you have to become an accountant of some kind or

        23       pass a certain test?

        24   A    No. I was not required to.

        25   Q    Was that a requirement in past CID agents?




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Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 7 of 82




                                                   4


         1   A It's a requirement for some. It depends on GPA in

         2       college, work experience. It just depends on --

         3   Q    So your connection of becoming a special agent was

         4       unrelated to whether you became a CPA or not?

         5   A That's correct.

         6   Q    You are a CPA though; isn't that true?

         7   A Yes.

         8   Q You became a CPA just prior to your employment as a

         9       special agent 2004-2005?

        10   A    I'm thinking it was '05. I'm not positive.

        11   Q    Now, as a revenue agent, you determine tax

        12       liability; is that correct? Prior to your job as a

        13       special agent.

        14   A    That was part of my responsibilities, yes.

        15   Q    And are you familiar with tools that the IRS uses

        16       like notice of deficiencies? Have you ever heard

        17       that phrase before?

        18   A    I've heard of the phrase, yes.

        19   Q    Have you ever been involved in the issuance of a

        20       notice of deficiency?
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 8 of 82




        21   A    No.

        22   Q    Have you ever been involved in investigating tax

        23       liabilities of taxpayers?

        24   A    Yes.

        25   Q    Is that a general job description of a revenue




                       EUSTICE REPORTING SERVICE
                    BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 9 of 82




                                                5


         1       agent?

         2   A General, but it entails a lot of other things.

         3   Q    Revenue agents do not collect taxes; isn't that

         4       true?

         5   A    We can or they can.

         6   Q    They can. They can receiver it, but --

         7       (Interrupted)

         8   A Correct.

         9   Q -- they can't go out and enforce collection, right?

        10   A    Correct.

        11   Q    Revenue officers do the enforcement; is that true?

        12   A    Correct.

        13   Q    Now, you were with the IRS prior to the Reform and

        14       Restructuring Act of 1998; isn't that true?

        15   A    Yes.

        16   Q    Prior to that time period did you work in the

        17       Oklahoma/Arkansas Internal Revenue District?

        18   A    Yes.

        19   Q    And where were you located out of, let's say, in

        20       that Internal Revenue district?
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 10 of 82




         21   A    I have always been in the Tulsa, Oklahoma office.

         22   Q    Have you ever worked out of Muskogee before?

         23   A    I have worked in Muskogee, but my assignment has

         24       always been in Tulsa, Oklahoma except for my

         25       training time to become a special agent.




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Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 11 of 82




                                                    6


         1    Q    And do you still as a special agent to this day work

         2        out of Tulsa, Oklahoma?

         3    A    Yes, that's my posted -- (Interrupted)

         4    Q    That's your posted duty. In 1999, if you are

         5        familiar, were Internal Revenue districts and

         6        district directors done away with as far as you

         7        know?

         8    A    I don't remember when that happened, but I know

         9        there's no longer the title of district director.

         10   Q     And is there no longer a title of Internal Revenue

         11       district if you know?

         12   A     That's correct. I know in CI we're field offices.

         13       I'm not sure what the term is on the civil side any

         14       longer.

         15   Q     Your field office in Tulsa, Oklahoma?

         16   A     The field office is the Dallas field office.

         17   Q     How is Tulsa related to the field office? How does

         18       Tulsa fall into -- under a field office like Dallas?

         19   A     Posted duty within the field office.

         20   Q     Do you remember the first time you ever heard the
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 12 of 82




         21       name Lindsey Springer?

         22   A    No.

         23   Q    Is it safe to say you've heard it many times?

         24   A    Yes.

         25   Q    Do you remember the first time you ever looked and




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 13 of 82




                                                    7


         1        saw Lindsey Springer physically? Do you remember

         2        where that was?

         3    A    No.

         4    Q Could it have been at a criminal trial?

         5    A    It could have been, but I don't remember when the

         6        actual first time was.

         7    Q Okay. At some point in time prior to you becoming a

         8        special agent but after the Reform and Restructuring

         9        Act of 1998 was enacted, were you assigned to

         10       perform an investigation on Lindsey Springer?

         11   A    I don't remember the exact date. I do know it was

         12       prior to me becoming a special agent.

         13   Q    Would it be safe to say that Lindsey Springer was

         14       your last assignment as a revenue agent?

         15   A    No, I can't say that that was.

         16   Q    Do you ever remember telling Lindsey Springer that?

         17   A    I don't remember that.

         18   Q    Is it true though you became a special agent in July

         19       of 2005?

         20   A    That's when I was sent to training, yes.
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 14 of 82




         21   Q    Now, to become a special agent you had to apply for

         22       that position?

         23   A    Yes.

         24   Q    And when did you apply for that position if you

         25       remember?




                        EUSTICE REPORTING SERVICE
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Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 15 of 82




                                                 8


         1    A I applied twice. I know one time -- I don't

         2        remember the dates.

         3    Q Do you remember how long it took you to become

         4        approved to be a special agent?

         5    A    Awhile.

         6    Q Awhile. Could that be two years?

         7    A    I don't know. I can't --

         8    Q    Okay. More than a year?

         9    A    I just -- I can't remember.

         10   Q    Didn't happen the second day after you --

         11       (Interrupted)

         12   A    It did not.

         13   Q    So we got a good span there?

         14   A    Yes.

         15   Q    I'm going to present to you what's been marked as

         16       Defendant's Exhibit No. 13 and I'm going to ask you

         17       if you've ever seen that Defendant's Exhibit No. 13

         18       before. I'll note that there are two pages to

         19       Defendant's Exhibit No. 13, so I'm going to be

         20       asking you questions about both documents. Have you
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 16 of 82




         21       seen either of those two documents as Defendant's

         22       Exhibit No. 13?

         23   A    Yes.

         24   Q    Do you recognize the signature on both of the

         25       documents?




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 17 of 82




                                                  9


         1    A Yes.

         2    Q And whose signature is that?

         3    A    That is my signature.

         4    Q    All right. Did you -- dealing with page one, on

         5        January 26th, 2004 do you remember whether or not

         6        you sent this letter that has your signature on it

         7        to Lindsey Springer?

         8    A Yes.

         9    Q    And can you tell the court why you sent this letter

         10       of January 26th, 2004, page one of Defendant's

         11       Exhibit No. 13, to Lindsey Springer?

         12   A    As it indicates in the letter, I was initiating

         13       what's called a 6700 Investigation on Lindsey

         14       Springer.

         15   Q    All right. And could you tell the court what a 6700

         16       Investigation is?

         17   A    It's been awhile. But 6700 -- my job in these types

         18       of investigations was to determine whether or not in

         19       this case Mr. Springer was promoting, I don't know

         20       the exact terminology, but any anti-tax sort of by
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 18 of 82




         21       selling pamphlets or cassette tapes or video tapes

         22       or by promoting in any way that type of

         23       investigation.

         24   Q    The language in your letter used the word promoting

         25       abusive tax shelters?




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 19 of 82




                                                 10


         1    A Yes.

         2    Q    Is that an accurate description of what your 6700 --

         3        Defendant's Exhibit No. 13?

         4    A    It says a tax shelter promotion.

         5    Q Right.

         6    A There it is. That's it. Yes.

         7    Q Then doesn't the letter also go on to say -- let's

         8        just start at the top. We have received certain

         9        material with respect to your tax shelter program or

         10       promotion?

         11          MR. STRONG: I think -- (Interrupted)

         12   A    Reviewed.

         13   Q    (By Mr. Springer) I'm sorry. Reviewed certain

         14       material with respect to your tax shelter promotion?

         15   A    Yes.

         16   Q    Now, does that mean that you actually have some

         17       information, documentation, that Lindsey Springer

         18       was actually selling a tax shelter program?

         19   A    I don't remember what I had that initiated the

         20       investigation. I know there was something. I had
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 20 of 82




         21       some sort of file that had information related to

         22       Lindsey Springer and a tax shelter, so the object

         23       was to determine if that was being promoted by --

         24       (Interrupted)

         25   Q    Do you remember if it was a tape for sale on the




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 21 of 82




                                                 11


         1        internet from 1995?

         2    A    I remember having some tapes. I don't remember

         3        anything about them being for sale on the internet.

         4        But I did have some tapes, yes.

         5    Q    You did also have numerous tapes with Lindsey

         6        Springer's voice on it, did you not?

         7    A Yes.

         8    Q And as part of your assignment you were to listen to

         9        those tapes to see or determine whether or not there

         10       were any offers or promotions being made within

         11       those tapes?

         12   A    Yes. Promotions within the 6700 -- (Interrupted)

         13   Q    Right. And did you ever discover any promotion in

         14       any of those tapes of Lindsey Springer offering to

         15       sell anything to anybody?

         16   A    I did not -- there were no violations of 6700.

         17       There were no offers of him selling the video --

         18       (Interrupted)

         19   Q    Tax shelters, and -- okay. Now, it says here we are

         20       considering possible action under Section 6700 and
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 22 of 82




         21       7408. Have you ever read either of those two

         22       sections before?

         23   A    Not out of the code book, no. I know I saw portions

         24       or all of them at a training at some point, but I

         25       don't know if I read all of them.




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 23 of 82




                                                  12


         1    Q    What about in the Internal Revenue Manual, would you

         2        use that as a source guide for --

         3    A Yes, but I don't remember if I specifically

         4        researched the manual for these two sections.

         5    Q And in your investigation of Lindsey Springer did

         6        you have occasion to call a witness by the name of

         7        Robert D. Metcalf?

         8    A I remember speaking with Mr. Metcalf, but I don't

         9        remember anything about the conversation.

         10   Q    Would you have kept notes on -- go back here a

         11       second. In your investigation, part of your

         12       investigation was to send Defendant's Exhibit No. 13

         13       to Lindsey Springer; isn't that true?

         14   A    Yes.

         15   Q And isn't this your attempt to -- Defendant's

         16       Exhibit No. 13, isn't this letter your attempt to

         17       get me to cooperate with you in a 6700

         18       Investigation?

         19   A    It's to notify you of the investigation and to get

         20       your cooperation, yes.
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 24 of 82




         21   Q    And along with your letter did you also send a

         22       summons?

         23   A    I don't remember. It does not say that it was

         24       enclosed with this letter.

         25   Q    That's right. So, when you sent this letter out,




                        EUSTICE REPORTING SERVICE
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Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 25 of 82




                                                 13


         1        did Lindsey Springer respond to your letter?

         2    A Yes.

         3    Q    And would you have made records of any responses

         4        that Lindsey Springer gave you?

         5    A Yes.

         6    Q    Would you have also been actively involved in making

         7        notations in an ICS history transcript?

         8    A    No. ICS is collection.

         9    Q Okay. So is it safe to say that anything that would

         10       be written in the ICS transcript that purports to be

         11       by you was not written by you?

         12   A    I've never had access to the ICS system.

         13   Q Never. On Defendant's Exhibit No. 13 it says

         14       Lindsey Springer and then 5147 South Harvard, Number

         15       116 Tulsa, Oklahoma 74135. That is your writing, is

         16       it not? You typed that in on that document?

         17   A    Yes.

         18   Q    And prior to this document of January 26th, 2004 had

         19       you ever received any documents or any communication

         20       directly with Lindsey Springer?
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 26 of 82




         21   A    Not that I can remember.

         22   Q Okay. And when you prepared this Defendant's

         23       Exhibit No. 13 which is letter 1844 dash -- it's 9

         24       of '83. I don't know what that means. But when you

         25       did that, it was a blank piece of paper and you were




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 27 of 82




                                                  14


         1        the one that typed in all the pertinent information,

         2        if you remember?

         3    A    I don't remember. I know I would have typed in the

         4        name, the date and my information.

         5    Q Would you have typed in the address?

         6    A Yes.

         7    Q    In deciding to send this letter, where would you

         8        have obtained the address to put on this letter?

         9        How would you have obtained that?

         10   A    I do not remember.

         11   Q    What are the -- so you were a revenue agent for 14

         12       years?

         13   A    Yes.

         14   Q    So, in your training if you needed to contact a

         15       taxpayer where would you go look to see what their

         16       address was?

         17   A    Normally cases are sent to us from wherever with

         18       certain information already in them and the address

         19       is generally already included with that.

         20   Q    Okay. So the choice of the address that was on your
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 28 of 82




         21       exhibit here was something that you were told that

         22       was the address to communicate with Lindsey Springer

         23       on; is that true?

         24   A    No, I can't say that that's true. I may have had to

         25       look it up myself if it wasn't in the material, but




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 29 of 82




                                                  15


         1        I just don't remember.

         2    Q Did you ever have any problems with that address?

         3    A Problems?

         4    Q    Yes. Did the address work for what you were trying

         5        to accomplish?

         6    A The mail was received at that address, yes.

         7    Q    Did you send it certified?

         8    A    I don't remember.

         9    Q    A 6700 Investigation, was that something that you

         10       were a specialist in?

         11   A    I was assigned for a short period of time to work

         12       those type of investigations.

         13   Q    Is that the last assignment you had before you

         14       became a CI?

         15   A    No.

         16   Q    So after you finished the investigation on Lindsey

         17       Springer you still did other jobs besides 6700?

         18   A    Even at the same time that I was doing this

         19       investigation I was still doing other assignments.

         20   Q    How many 6700 Investigations have you done for the
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 30 of 82




         21       IRS?

         22   A   I don't remember.

         23   Q   A lot?

         24   A   Not a lot. It was a very short assignment.

         25   Q   Had you had specialized training in that?




                       EUSTICE REPORTING SERVICE
                    BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 31 of 82




                                                    16


         1    A I remember attending a class, yes, a short. I don't

         2        remember if it was one or two weeks.

         3    Q    If I said to you last known address, does that mean

         4        anything to you?

         5    A    It can mean last known physical address, last known

         6        mail address. It can mean different things.

         7    Q But you are required, are you not, any time

         8        communicating with a taxpayer to use their last

         9        known address; isn't that true?

         10   A    Not any time. Sometimes if we know -- if we have a

         11       last known address but we know that to be incorrect

         12       we can send things to two different places at once.

         13   Q    Call that a whipsaw?

         14   A    I have no idea what it's called.

         15   Q    Do you remember Lindsey Springer agreeing to

         16       participate in helping you gather the information

         17       that you were looking for in your 6700

         18       Investigation?

         19   A    Yes.

         20   Q    Do you remember Lindsey Springer offering you names
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 32 of 82




         21       and contact information as you requested?

         22   A    Yes.

         23   Q    Do you remember sending summonses out in regard to

         24       the 6700 Investigation?

         25   A    I don't remember specifically sending summonses, but




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 33 of 82




                                                17


         1        I could have.

         2    Q    When you do a 6700 Investigation, you look for

         3        information to determine whether somebody in this

         4        particular instance had bought -- purchased

         5        something from Lindsey Springer; isn't that true?

         6    A Yes. Purchased one of the items that would violate

         7        -- (Interrupted)

         8    Q Right.

         9    A    -- 6700.

         10   Q    And page two of Defendant's Exhibit No. 13 also uses

         11       the same address except with a different Zip Code.

         12       Do you see that?

         13   A    Yes.

         14   Q    Do you know why that Zip Code is different?

         15   A    I do not.

         16   Q    You do agree that's your signature on the second

         17       page?

         18   A    Yes.

         19   Q And this document, second page of Defendant's

         20       Exhibit No. 13, was dated December 2nd, 2004?
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 34 of 82




         21   A    Yes.

         22   Q    So is it safe to say from January 26th, 2004 until

         23       December 2nd, 2004 the last known address that the

         24       IRS had on file that you were using was 5147 South

         25       Harvard Suite 116 Tulsa, Oklahoma?




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Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 35 of 82




                                                  18


         1           MR. STRONG: Objection. Calls for a legal

         2        conclusion.

         3    Q    (By Mr. Springer) That's the only address you used;

         4        isn't that true?

         5    A It's the address on the letters, yes.

         6    Q    Is there any other address that you know of that you

         7        used during the 6700 Investigation of Lindsey

         8        Springer?

         9    A    Not that I know of.

         10   Q     I'm going to read something to you and I'm going to

         11       ask you if this refreshes your memory. Met with

         12       R.A. She advised that taxpayer uses name Bondage

         13       Breakers and admits that he and Bondage Breakers are

         14       one in the same. Has no income and relies strictly

         15       on gift donations and has no reportable income. Do

         16       you remember saying that to anybody?

         17   A     I don't remember saying it.

         18   Q     Okay. Do you remember saying he does not promote

         19       tax avoidance schemes. He travels around the

         20       country helping in legal research and providing
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 36 of 82




         21       attorney support for various court case types, not

         22       limited to only tax court cases?

         23   A    I don't remember saying that.

         24   Q    He lives off of gifts and donations. Do you

         25       remember saying that?




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 37 of 82




                                                  19


         1    A    Not in that particular instance.

         2    Q    The ICS address is incorrect and he lives in Kiefer

         3        area and uses a PO box drop. Do you remember saying

         4        that?

         5    A    No.

         6    Q    Which she will provide me with this week. Do you

         7        remember saying that?

         8    A    No.

         9    Q    House is held in a trust and located in the Kiefer

         10       area. Do you remember saying that?

         11   A    No.

         12   Q    CI not interested because gifts are not taxable

         13       income. Do you remember that?

         14   A    No.

         15   Q    He uses checks, cashier's, and has a cash -- check

         16       cashers and has no bank account. Do you remember

         17       saying?

         18   A    No.

         19   Q    Estate and gift attorney looking at scenario, but

         20       thus far has found nothing. Did you ever have any
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 38 of 82




         21       conversation with anybody about that?

         22   A    About -- say that part -- (Interrupted)

         23   Q    About estate and gift attorney looking at scenario,

         24       but thus far have found nothing.

         25   A    I don't remember.




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 39 of 82




                                                 20


         1    Q    R.A. has found nothing to indicate he promotes tax

         2        avoidance schemes. Do you remember saying that?

         3    A    No.

         4    Q    But it's true, right? You never found anything that

         5        I was -- Lindsey Springer was promoting as a tax

         6        avoidance scheme?

         7           MR. STRONG: What is true?

         8    Q    (By Mr. Springer) What I'm reading to you is: R.A.

         9        has found nothing to indicate he promotes tax

         10       voidance schemes. You said you don't remember

         11       saying that?

         12   A    That's indicated. I don't remember saying it, but

         13       it is indicated in the second page of Exhibit 13.

         14   Q    During the time that you were doing a 6700

         15       Investigation, did Lindsey Springer meet you at this

         16       same building that we're in today?

         17   A    Yes.

         18   Q    And did you summons him to appear for that?

         19   A    I don't remember.

         20   Q    Did he willingly answer your questions?
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 40 of 82




         21   A    Yes.

         22   Q    Was there anybody else at that meeting besides you?

         23   A    My recollection is two meetings, one with Lindsey

         24       Springer and myself and another one with my manager,

         25       Mike Gregory.




                       EUSTICE REPORTING SERVICE
                    BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 41 of 82




                                                 21


         1    Q Mr. Gregory, he's out of Oklahoma City?

         2    A    Yes. My manager at the time.

         3    Q    At the time. Now, is Mr. Gregory the person who

         4        assigned you to the 6700 case if you remember?

         5    A    I cannot remember if those were assigned through the

         6        manager or if they came from another source. I

         7        can't remember that.

         8    Q    All right. At the same time that you were assigned

         9        to this case with Lindsey Springer you were also

         10       involved in a case involving Eddie and Judy

         11       Patterson; do you remember that?

         12   A    I don't remember if it was at the same time.

         13   Q    Do you remember having a conversation with me --

         14       with Lindsey Springer telling Lindsey Springer that

         15       you waited until after the trial was over to make

         16       contact with Lindsey Springer if you remember?

         17          MR. STRONG: Objection. Calls for information

         18       concerning a criminal case.

         19          MR. SPRINGER: It's fine. It's not a criminal

         20       case. It's over. I'm asking you a specific
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 42 of 82




         21     question outside of that question.

         22        MR. STRONG: Instruct the witness not to

         23     answer.

         24        MR. SPRINGER: I can call Judge Cleary if you

         25     want, but I'm not going into the criminal case. I'm




                      EUSTICE REPORTING SERVICE
                   BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 43 of 82




                                                  22


         1        staying outside of it. I'm laying a foundation for

         2        my questions that has nothing to do with Mr.

         3        Patterson's criminal case.

         4           MR. STRONG: Calling for information. Let's

         5        hear your question one more time.

         6    Q    (By Mr. Springer) Okay. Do you remember telling

         7        Lindsey Springer that because of a Patterson case

         8        that you were involved in in dealing with tax return

         9        preparation that you waited till after the trial was

         10       over to send this January 26th, 2004 letter to

         11       Lindsey Springer on the 6700 Investigation?

         12           MR. STRONG: Go ahead.

         13   A    I don't remember saying the exact thing that you

         14       just said, but I remember a conversation to that

         15       effect, yes.

         16   Q    (By Mr. Springer) Would it be safe to say that you

         17       were assigned to do a 6700 Investigation on Lindsey

         18       Springer prior to the trial of the Pattersons and

         19       that you waited until after the trial?

         20   A    I can't say that it was assigned to me prior to that
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 44 of 82




         21       being concluded, but I knew it was coming. I don't

         22       know if it was officially assigned yet.

         23   Q    And in the Patterson case you worked with a -- your

         24       civil, right? You're not a criminal investigator,

         25       isn't that true, at this time?




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 45 of 82




                                                  23


         1    A    At the time -- (Interrupted)

         2    Q    At the time of the Patterson case?

         3    A Yes.

         4    Q    Because that would have been prior to July of 2005,

         5        best of your knowledge?

         6    A Yes.

         7    Q    But you did work side by side with criminal

         8        investigators, did you not?

         9    A Yes.

         10   Q    At the time of the Patterson case and prior to you

         11       issuing the 6700 Investigation letter to Lindsey

         12       Springer, had you already applied for CI position?

         13       Time frame -- I'll give you that -- would be the

         14       date of your letter, January 26th, 2004.

         15   A    Yes.

         16   Q    You mentioned earlier that you had been turned down

         17       the first time, but you got approved the second

         18       time; is that true?

         19   A    Correct.

         20   Q    Is there written documents to that effect?
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 46 of 82




         21   A    Somewhere.

         22   Q    Do you remember when you and I sat down in this

         23       building and we started going over certain people's

         24       names? Do you remember having discussions about

         25       people's names when you and I met; do you remember




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 47 of 82




                                                24


         1        that?

         2    A Yes.

         3    Q    Do you remember when we got to Mr. Patterson we

         4        didn't have a discussion about that; do you remember

         5        that?

         6    A I don't remember that.

         7    Q    Do you remember whether or not you were assigned a

         8        6700 Investigation based upon Doug Horn and Melody

         9        Noble Nelson?

         10   A    No, I was not.

         11   Q    No, you were not. And at no time did either of them

         12       have anything to do with your 6700 assignment of

         13       Lindsey Springer?

         14   A    They did not have anything to do with it.

         15   Q    But you don't know whether Mr. Gregory assigned

         16       you -- can you find out who assigned you?

         17   A It would have come through him, but I just can't

         18       remember on that program if it would have -- I just

         19       don't remember how that process worked.

         20   Q    Okay. At the time you were doing your 6700
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 48 of 82




         21       Investigation were you also working with criminal

         22       investigation division involving an investigation of

         23       Lindsey Springer?

         24   A    No.

         25   Q    Had you ever made any comment to anybody that CI was




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 49 of 82




                                                 25


         1        not interested at that time of your 6700

         2        Investigation letter, January 26th, 2004? Had you

         3        ever made any comment to anybody that CI was not

         4        interested in investigating Lindsey Springer?

         5    A I don't remember making that comment.

         6    Q    Do you remember working with a man in the Patterson

         7        case who was a CI agent? And I believe his name

         8        started with an A?

         9              MR. STRONG: Objection.

         10             MR. SPRINGER: Only because of this document,

         11       not because of that case. I'm not going into that

         12       case.

         13             MR. STRONG: What document? We haven't seen a

         14       document yet.

         15             MR. SPRINGER: Well, she hasn't testified that

         16       she knows anything about it yet, so I'm working on

         17       it.

         18   Q    (By Mr. Springer) I'm not asking you to give me any

         19       information about a criminal investigation that you

         20       are involved in currently or you were ever involved
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 50 of 82




         21     in currently other than as it relates to Lindsey

         22     Springer and your involvement of a 6700 case. Do

         23     not answer my question on anything other than that.

         24        MR. STRONG: You asked a question regarding her

         25     involvement with criminal -- CID on the Patterson




                      EUSTICE REPORTING SERVICE
                   BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 51 of 82




                                                26


         1        case.

         2           MR. SPRINGER: Right. Because she said she had

         3        not worked with a CI in this case and she also said

         4        that Melody Nelson and Douglas Horn did not appoint

         5        her or assign her on anything to do with her doing a

         6        6700 Investigation with me. But she's also said she

         7        doesn't know who actually assigned her. And so, I

         8        have a right to ask who assigned her and I'm trying

         9        to -- (Interrupted)

         10           MR. STRONG: You've already asked that question

         11       though. Now you're asking her whether she's worked

         12       with CI on the Patterson case -- (Interrupted)

         13           MR. SPRINGER: All right. So we'll go --

         14       (Interrupted)

         15           MR. STRONG: -- ask her not to answer that.

         16           MR. SPRINGER: We'll go a different way.

         17   Q    (By Mr. Springer) Prior to December 2nd, 2004 when

         18       you issued page two of Defendant's Exhibit No. 13,

         19       have you ever shared any of the information that you

         20       received from Lindsey Springer with any criminal or
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 52 of 82




         21     civil investigation of the IRS?

         22        MR. STRONG: I'm going to object on the basis

         23     of law enforcement privilege as it goes to if she

         24     shared any information with the criminal

         25     investigation division and instruct her not to




                      EUSTICE REPORTING SERVICE
                   BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 53 of 82




                                                 27


         1        answer.

         2           MR. SPRINGER: I'm not asking her what she

         3        shared with criminal investigation, I'm asking her

         4        did she.

         5           MR. STRONG: I'm instructing the witness not to

         6        answer based on my previous assertion of privilege.

         7    Q (By Mr. Springer) Do you remember having a

         8        conversation with Lindsey Springer about if he was

         9        to give you information involving your 6700

         10       Investigation that you would not share that

         11       information with -- and had nobody else assigned

         12       with you and you would share it with nobody else; do

         13       you remember that?

         14   A    I don't remember that.

         15   Q    Do you remember telling Lindsey Springer that you

         16       were the only one assigned to his case?

         17   A    I don't remember saying that.

         18   Q    Do you remember having to tell Lindsey Springer that

         19       there was a revenue officer assigned and that you

         20       had forgot to tell him that?
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 54 of 82




         21   A    No, I don't remember that.

         22   Q    I'm going to read you something and see if you can

         23       remember this: Received message from R.A. Meadors

         24       advising mailing address was 5147 South Harvard

         25       Suite 107 which is a PO drop box. Do you remember




                       EUSTICE REPORTING SERVICE
                    BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 55 of 82




                                                 28


         1        saying that to anybody during your 6700

         2        Investigation?

         3    A    I don't remember saying it, no.

         4    Q    Do you remember telling somebody: She is meeting

         5        with coordinator in Oklahoma City this week and ask

         6        that I not contact taxpayer until after her meeting

         7        this week?

         8    A I don't remember saying that.

         9    Q    Do you remember she advised the residence location

         10       is in a file box and she will get with me this

         11       Friday, 6-11, and provide the needed information.

         12       Do you remember having any conversation with anybody

         13       like that?

         14   A    No.

         15   Q    If you had had a conversation with somebody like

         16       that, would you have kept notes about that?

         17   A Not necessarily.

         18   Q    Received message from R.A. Meadors. She had meeting

         19       in Oklahoma City and has action plan on her case and

         20       wants to discuss on Monday 6-21 with me as unable to
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 56 of 82




         21       get back in office until then. Do you remember

         22       having an action plan with anybody on 6-18, 2004?

         23   A    I don't remember having an action plan.

         24   Q    Do you know what an action plan is?

         25   A    An action plan can be a lot of different things.




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 57 of 82




                                                  29


         1    Q    What would be involving a 6700 Investigation if you

         2        know?

         3    A I don't know that. I don't recall that specific

         4        term as it relates to a 6700 Investigation.

         5    Q    Okay. She also has taxpayer's physical resident

         6        address in Kiefer, Oklahoma and will provide at the

         7        time. She wants to discuss her plans prior to me

         8        making any contact. Do you remember making that

         9        statement to anybody?

         10   A    No.

         11   Q    R.A. had left message 6-21-04 advising change in

         12       plans and would not be in office until Thursday

         13       6-24. She will contact me then. Do you know who

         14       that would have been that you were saying you would

         15       contact then if you remember?

         16   A    No, I don't remember any of those conversations.

         17   Q    Now, on 6-28, 2004 a person writes: Met with R.A.

         18       Meadors and obtained copy of interview report and

         19       3164-P. To her knowledge he has no bank accounts.

         20       Do you remember meeting with somebody?
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 58 of 82




         21   A    I don't.

         22   Q    Would you have a case history report that would say

         23       who you met with on 6-28, 2004?

         24   A    I wouldn't have it.

         25   Q    Do you remember ever sitting down with anybody and




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 59 of 82




                                                    30


         1        having a conversation about Lindsey Springer during

         2        your 6700 Investigation?

         3    A    I remember having conversations with my manager,

         4        Mike Gregory.

         5    Q And that's it?

         6    A Yes. I don't remember any other conversations.

         7    Q    Did you ever have any conversation with a Fred Rice?

         8    A    I have had conversations with Fred Rice.

         9    Q    During the 6700 Investigation?

         10   A I don't remember that I did. I'm not saying I

         11       didn't. I don't remember any of that.

         12   Q    As a 6700 Investigating agent, would you have also

         13       been working parallel with a revenue officer during

         14       the entire 6700 Investigation?

         15   A    It's possible, but I don't -- I don't recall that.

         16   Q    Spoke with R.A. Meadors. This is 7-12, 2004. Spoke

         17       with R.A. Meadors updating her on living conditions

         18       in vehicles. She would like me to take her to

         19       taxpayer's residence as is difficult to find. Did

         20       anybody ever take you out to look at my house?
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 60 of 82




         21   A   No, not then.

         22   Q   At any time?

         23   A   I have been by your house.

         24   Q   At the time you were doing the 6700 Investigation?

         25   A   Not that I can remember.




                      EUSTICE REPORTING SERVICE
                   BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 61 of 82




                                                 31


         1    Q    So at 7-12, 2004 do you remember being -- asking

         2        somebody to take you out to see my house?

         3    A I don't remember that.

         4    Q    Now, what would have been -- if you wanted to see

         5        Lindsey Springer's house, what would have been

         6        relevant at his house to a 6700 Investigation?

         7    A    I don't know.

         8    Q    Reading again: Spoke with R.A. Meadors. She has

         9        summons back approved and is issuing same on all the

         10       known sources including the check cashing locations.

         11       She wants copy of digital photos showing assets and

         12       standard of living. Why would you have wanted

         13       digital photos of assets and standard of living?

         14   A    I don't know.

         15   Q    As a 6700 Investigation, would the IR Manual tell

         16       you that you need to have that information?

         17   A    I don't know.

         18   Q    On 9-3, 2004 says: CI requested copies of photos

         19       made, copies on disks of the photos taken in

         20       compatible format. Would you know what disks and
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 62 of 82




         21       what compatible format and what photos are being

         22       referred to?

         23   A    I have no idea.

         24   Q    Did you ever look at any photos while you were doing

         25       a 6700 Investigation?




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 63 of 82




                                                 32


         1    A    Not that I can remember.

         2    Q    CI, standard language in IRS terms is criminal

         3        investigator? Is that what you refer to yourself,

         4        as a CI today?

         5    A I refer to myself as a special agent.

         6    Q Special agent. Do you know what a CI is?

         7    A    CI means criminal investigation.

         8    Q    Provided photo disk to CI. You did not input that

         9        anywhere?

         10   A    I have no idea.

         11   Q    Met with Donna Meadors 9-8, 2004. She is receiving

         12       the summons information today and has meeting

         13       scheduled at 9:30 with taxpayer. I will be able to

         14       be part of the interview process and make initial

         15       contact. Do you know who that would be?

         16   A    Who who would be?

         17   Q    I will be able to be part of the interview process

         18       and make initial contact.

         19   A    I don't. I don't remember anyone else being

         20       involved.
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 64 of 82




         21   Q    I will be provided with copies of the summons

         22       documents first thing tomorrow morning which will

         23       allow me minimal time to review and develop

         24       additional interview questions. Reviewing file and

         25       developing interview questions for tomorrow's




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 65 of 82




                                                33


         1        meeting. Taxpayer has not filed a return since at

         2        least 1990. All balance dues are SFRs and Donna is

         3        sure he will challenge the assessments. Did you say

         4        that to anybody?

         5    A    I don't remember.

         6    Q    Spoke with Donna Meadors. She informed taxpayer of

         7        my involvement and he was not happy about same.

         8        Does that refresh your memory at all?

         9    A    No.

         10   Q    Not at all?

         11   A    I don't remember those conversations at all.

         12   Q    She also informed him that the summoned info would

         13       be provided to me. She is sending third party

         14       contacts to all names uncovered to the summon

         15       process and will be interviewing them. She did not

         16       go into my asset info. She did advise me that I can

         17       now contact taxpayer. Do you know who you told that

         18       to?

         19   A    I don't.

         20   Q    She further advised that they cannot make a promoter
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 66 of 82




         21       case and unlikely that the third party interview

         22       will change this. Does that seem like something you

         23       would have said?

         24   A    I don't remember.

         25   Q    We've mentioned Michael Gregory as your group




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 67 of 82




                                                34


         1        manager and we've mentioned Fred Rice as a

         2        collection revenue officer?

         3    A Yes.

         4    Q Is there any other name that you know of that would

         5        have been involved with you in the 6700

         6        Investigation at the time that you conducted your

         7        6700 Investigation of Lindsey Springer?

         8    A No other names that I can recall.

         9    Q    Have you ever had a memory problem before?

         10   A    That's five years ago. I don't remember specifics

         11       about a lot of the cases I worked that long ago.

         12   Q    Does the IRS keep records because of that particular

         13       reason where people can forget from one case to

         14       another?

         15   A    The IRS keeps records. I don't know if that's the

         16       reason why they keep them.

         17   Q    Where would all of the records that you generated or

         18       used or relied upon in entering your December 2nd,

         19       2004 letter to Lindsey Springer at the Harvard

         20       address, where would those records be maintained?
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 68 of 82




         21   A    I have no idea.

         22   Q    Can you tell me who your group manager was in 2004

         23       besides Mr. Gregory?

         24   A It was Mr. Gregory.

         25   Q Mr. Gregory?




                       EUSTICE REPORTING SERVICE
                    BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 69 of 82




                                                    35


         1    A Yes.

         2    Q    Okay. Have you ever heard of a name David Reed?

         3    A Yes.

         4    Q    What do you know about David Reed?

         5    A    David Reed was a revenue officer and he was -- I

         6        can't remember his exact title.

         7    Q    Is he a civil/criminal coordinator now?

         8    A    He's retired now.

         9    Q    Was he a civil/criminal coordinator?

         10   A    I don't know if that was the title.

         11   Q    Was he out of Oklahoma City or Tulsa?

         12   A    Oklahoma City. But I have met with him in Tulsa.

         13   Q    You have?

         14   A    Yes.

         15   Q    Would you ever have had occasion meet with him

         16       during your 6700 Investigation of Lindsey Springer?

         17   A    I don't remember.

         18   Q    If Mr. Gregory brought you a file to do a 6700

         19       Investigation on Lindsey Springer and you needed to

         20       obtain a last known address of Lindsey Springer, and
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 70 of 82




         21       you were a revenue agent since 1991, where would you

         22       have looked within the IRS records to find a current

         23       last known address of Lindsey Springer?

         24   A    I don't know on the 6700 Investigation where I would

         25       have looked.




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 71 of 82




                                                  36


         1    Q    Have you ever heard of a master file before?

         2    A Yes.

         3    Q    Would that be something -- you said earlier you

         4        wouldn't have had access to the ICS history

         5        transcript, but would you have access to the master

         6        file?

         7    A At the time I would have had access to a system. It

         8        wasn't called the master file system.

         9    Q    What was it called?

         10   A     It was called the IDRS system.

         11   Q     Now, you said earlier that the ICS history is for

         12       revenue officers, right, collection?

         13   A     Correct.

         14   Q     Isn't it true when a 6700 Investigation is issued

         15       that a revenue agent and a revenue officer work

         16       together?

         17   A     I don't remember that.

         18   Q     Do you ever remember a 6700 Investigation where

         19       there was no revenue officer assigned?

         20   A     I don't remember on any of my 6700 Investigations if
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 72 of 82




         21       I worked hand-in-hand with a revenue officer or not.

         22   Q    If there was a policy or procedure -- scratch that.

         23       If there was a revenue officer assigned to a 6700

         24       Investigation along with you, would that be

         25       something that Mr. Gregory would have done?




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 73 of 82




                                                37


         1    A    No.

         2    Q Who would have been assigning a revenue officer in

         3        the event there would have been one assigned?

         4    A    It would have been the revenue officer's manager.

         5    Q    Revenue officer's manager. And you do, again,

         6        remember Fred Rice worked on this case, you just

         7        don't remember -- excuse me. Strike that.

         8           Did you say that you had communicated with Fred

         9        Rice before about your 6700 Investigation on Lindsey

         10       Springer?

         11   A    I don't remember that.

         12   Q    Now, do you know where Fred Rice offices out of,

         13       where his posted duty is?

         14   A    I don't.

         15   Q    If you had had any conversations with Mr. Rice,

         16       would you have made a record of them somewhere?

         17   A    I could have.

         18   Q    If you did, would that be contained in the file?

         19   A    It should be.

         20   Q    And if you had a file and then you concluded an
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 74 of 82




         21       investigation, what would you do with that file?

         22   A    I would send it wherever it was supposed to go.

         23   Q    In this case would you have sent it back to Mr.

         24       Gregory, is it likely?

         25   A    I don't remember in 6700 Investigations what the




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 75 of 82




                                                  38


         1        actual process was. He would have at one time seen

         2        my file, but I don't remember if it would have been

         3        closed to him. I just -- (Interrupted)

         4    Q    Would he have seen your file before you wrote your

         5        final letter of December 22nd, 2004?

         6    A    I don't know.

         7    Q Do you remember ever remember making any referrals

         8        or reports against Lindsey Springer?

         9    A    I believe there's a report at the end of a 6700

         10       Investigation.

         11   Q    Is that a report making any type of referrals if you

         12       know?

         13          MR. STRONG: What do you mean by referrals?

         14   Q    (By Mr. Springer) Any recommendations?

         15          MR. STRONG: What sort of recommendations?

         16          MR. SPRINGER: I'm asking her to answer that

         17       question. I don't know the answer to that question.

         18   A    I don't know either.

         19   Q    (By Mr. Springer) Okay. Did you make a

         20       determination, a civil determination, that Lindsey
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 76 of 82




         21       Springer had failed to file tax returns?

         22   A    As part of the 6700 Investigation?

         23   Q    Yes, ma'am. And only as a part of that 6700

         24       Investigation.

         25   A    I don't remember that the letter says -- our review




                        EUSTICE REPORTING SERVICE
                     BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 77 of 82




                                                  39


         1        of the transaction does not constitute an

         2        examination of your income tax returns. We may

         3        examine your income tax returns for correct

         4        determination of any income tax liability. That's

         5        the only thing that I can remember if it says it in

         6        this letter then.

         7    Q    Just to be sure. You're not on any medication that

         8        would have in some way cause you to forget now but

         9        remember later any of the questions I've asked you

         10       here today?

         11   A     No.

         12   Q     The only thing that would help you is if you could

         13       see the case file then you may be able to refresh

         14       your memory?

         15   A     Correct.

         16           MR. SPRINGER: Just for safety, I'm going to

         17       make her two letters separated as Defendant's

         18       Exhibit No. 41 and 42. We'll make the --

         19       (Interrupted)

         20           MR. STRONG: January 26th is 41?
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 78 of 82




         21        MR. SPRINGER: Yes.

         22        MR. STRONG: December 2nd is 42?

         23        MR. SPRINGER: 42. We will also make

         24     Defendant's Exhibit No. 13 a part of this deposition

         25     as well. Thank you.




                      EUSTICE REPORTING SERVICE
                   BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 79 of 82




                                            40


         1          MR. STRONG: I have no questions. We'll read

         2       and sign.

         3          (WITNESS EXCUSED)

         4    SIGNATURE OF DONNA MEADORS: _______________________

         5     SUBSCRIBED AND SWORN to before me this ______ day of
              __________________, 20___.
         6
              SIGNATURE OF NOTARY PUBLIC: __________________
         7    My Commission expires: _______________

         8

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Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 80 of 82




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                     EUSTICE REPORTING SERVICE
                  BOX 700488 TULSA, OK 74170 (918)445-2965
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 81 of 82




                                                  41


         1               CERTIFICATE

         2
              STATE OF OKLAHOMA )
         3             ) SS.
              COUNTY OF TULSA )
         4

         5          I, Greg Eustice, Certified Shorthand Reporter

         6    in and for the State of Oklahoma, do hereby certify that

         7    on April 9, 2009 pursuant to court order, the above

         8    witness, Donna Meadors, was by me first duly sworn to

         9    testify the truth, the whole truth, and nothing but the

         10   truth in the case aforesaid; and that the deposition by

         11   her was reduced to writing by me in stenograph, and

         12   thereafter transcribed by myself, and is fully and

         13   accurately set forth in the preceding 40 pages.

         14          I do further certify that I am not related to

         15   nor attorney for any of the said parties, nor otherwise

         16   interested in the event of said action.

         17          WITNESS my hand this _____ day of April, 2009.

         18

         19                     ______________________
                               GREG EUSTICE
         20                     Certified Shorthand Reporter
Case 4:09-cr-00043-SPF Document 75-15 Filed in USDC ND/OK on 06/01/09 Page 82 of 82




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